Case 8:03-cr-00077-CEH-LSG Document 1136 Filed 05/27/05 Page 1 of 2 PageID 10275




                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

  UNITED STATES OF AMERICA

  v.                                                 Case No. 8:03-cr-77-T-30TBM

  HATIM NAJI FARIZ
  ____________________________________

              ORDER ON DEFENDANT’S MOTION IN LIMINE

         This cause is before the Court upon the Motion in Limine of Defendant Fariz to

  preclude the introduction of the attacks, or alternatively, to require Order of proof (Dkt.

  #982), and the Government’s response thereto (Dkt. #1029). The Court having heard oral

  argument and being advised in the premises determines that the motion should be granted in

  part and denied in part.

         At a hearing held on May 26, 2005, the Government proffered evidence supporting

  the existence of a conspiracy and the Defendants’ participation therein. Further, the

  Government has proffered that each attack will be linked by admissible evidence to the

  Palestinian Islamic Jihad (“PIJ”). Therefore, Defendant’s motion to require the Government

  to produce an order of proof is DENIED and Defendant’s request for the Government to

  delay the introduction of evidence concerning the attacks is DENIED.

         Defendant’s motion concerning attacks not carried out by the PIJ is DENIED as moot

  because the Government has represented that it does not intend to offer any evidence of such

  attacks other than to explain statements of the Defendants.

         Defendant’s motion in limine is GRANTED as to pathology reports, medical records

  and similar documentary evidence unless the Government shows that any such document
Case 8:03-cr-00077-CEH-LSG Document 1136 Filed 05/27/05 Page 2 of 2 PageID 10276




  meets an exception to the hearsay rule. Ruling is RESERVED as to the Government’s bomb

  testing conducting in the Everglades on November 17, 2004.

           The Court DENIES the motion in limine as to photographs, videos or other images

  of alleged crimes scenes unless such items are excessive. The motion in limine is

  GRANTED as to the introduction of hearsay evidence unless such evidence meets an

  exception. This includes documentary evidence of convictions, guilty pleas, confessions of

  co-conspirators, police reports, and newspaper articles.

           It is therefore ORDERED AND ADJUDGED that:

           1.        Defendant Fariz’s Motion in Limine to preclude the introduction of the attacks,

  or alternatively, to require Order of proof (Dkt. #982) is GRANTED in part and DENIED

  in part as specified above.

           2.        The Clerk is directed to terminate this motion (Dkt. #982) and the following

  related motions to adopt (Dkt. #998, which was granted via endorsed order at Dkt. #1007 on

  May 5, 2005; and Dkt. #1024, which was granted via endorsed order at Dkt. #1046 on May

  12, 2005.)

           DONE and ORDERED in Tampa, Florida on May 27, 2005.




  Copies furnished to:
  Counsel/Parties of Record
  S:\Odd\2003\AL-ARIAN\MotionLimine.Fariz.frm




                                                Page 2 of 2
